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|N THE UN|TED STATES D|STR|CT COURT
FOR THE SOUTHERN DlSTRlCT OF TEXAS
LAREDO D|V|S|ON

JOSE FLORES §

v. § C|V|L ACTlON NO.
§

STATE FARN| LLOYDS §

 

NoTlcE oF REMovAL

 

PLEASE TAKE NOT|CE that Defendant, State Farm Lloyds, hereby removes to

this Court, the State Court action described below.
Procedural Background and Parties

1. On or about July 6, 2015, Jose Flores filed Plaintiff’s Original Petition in
Cause No. 201 SCVF002302D1 in the 49th Judicial District Court of Webb County, Texas,
initiating an action identifying State Farm Lloyds as the Defendant.

2. State Farm Lloyds received the Citation and Plaintiff's Original Petition on
or about July 31, 2015. Defendant State Farm Lloyds filed an Origina| Answer and
Request for Jury Trial, and is filing a Notice of Removal of Civil Action in the State Court

action.

3. At the time this action was commenced, Plaintiff was, and still is, a citizen
of Texas. Jose Flores is a natural person residing in Webb County, Texas; and, thusl is

a citizen of Texas.

4. Defendant State Farm was at the time this action was commenced, and still
is1 a citizen of lllinois. State Farm is a "Lloyd's Plan" organized under chapter 941 of the

Texas insurance Code. lt consists of an unincorporated association of undenivriters who

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were at the time this action Was commenced, and still are, all citizens and residents of
lilinois, thereby making State Farm a citizen of illinois for diversity purposes. See Royal
Ins. Co. ofAm. v. Quinn-L Capitai Corp., 3 F.3d 877, 882-83 (5th Cir. 1993) (citizenship
of unincorporated association determined by citizenship of members). Therefore,

complete diversity of citizenship exists between Plaintiff and Defendant State Farm.

Nature of the Suit
5. in his Original Petition, Plaintiff alleges multiple claims and causes of action
against State Farm Lloyds including negligence, breach of contract, violations of Texas
Deceptive Trade Practices Act and Tie-in-Statutes, non-compliance with Sections 541
and 542 of the Texas insurance Code, breach of fiduciary duty, unfair insurance practices,
misrepresentation, and common-law fraud by negligent misrepresentationl Plaintiff
further alleges State Farm Lloyds violated the insurance Code “knowingiy," as that term
is used in the applicable statute. Plaintiff also asserts that State Farm Lloyds breached
the common law duty of good faith and fair dealing.
Basis for Removal
6. This Court has original jurisdiction under 28 U.S.C. § 1332 over this civil
action, and the action may be removed by Defendant pursuant to 28 U.S.C. § 1441(b), in
that it is a civil action between citizens of different states, and the matter in controversy
exceeds the sum of $75,000.00 exclusive of interest and costs.
7. Plaintiff’s Original Petition does not set forth the exact amount of damages
Plaintiff seeks in this action Plaintiff has asserted numerous claims and causes of action
against Defendants seeking not only actual damages, but also statutory

damages/penalties and punitive/exemplary damages Plaintiff’s Original Petition includes

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the following statement: “P|aintiff seeks monetary relief of over $200,000, but not more

than $1,000,000, including damages of any kind. penalties costs, expenses pre-

judgment interest, and attorney fees.’l Therefore, based on information and beliefl the

amount in controversy in this action exceeds $75,000.00, exclusive of interest and costs

See Chittick v. Farmers ins. Exchange, 844 F. Supp. 1153, 1155-56 (S.D. Tex. 1994).
Removal is Procedura||v Correct

8. Plaintiff filed his Original Petition on or about Ju|y 6, 2015. State Farm
received the citation and Plaintiff’s Original Petition on or about July 31, 2015. Therefore,
State Farm has filed this Notice of Removal within the 30-day time period required by 28
U.S.C. § 1446(b). Aiso, this Notice of Removal is being filed less than one year after the
commencement of the State Court Action.

9. Venue is proper in this district under 28 U.S.C. § 1446(a) because this
district and division embrace the place in which the removed action was pending and
because a substantial part of the events giving rise to the Plaintist claims allegedly
occurred in this district

10. Pursuant to 28 U.S.C. § 1446(a), all pleadings, process orders, and all
other filings in the state court action are attached to this Notice.

11. Pursuant to Local Ruie 81, all documents required by that rule to be filed
With this Notice of Removal are attached and indexed.

12. Pursuant to 28 U.S.C. § 1446(d), Defendant Wiii provide prompt Written
notice of the filing of this Notice of Removal to Plaintiff, and Wiii file a notice with the Clerl<

of the 49th Judicial District Court for Webb County, Texas.

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Respectfully submitted,

By: /s/ Brian M. Chandier
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CERT|FICATE OF SERV|CE

| certify that a true and correct copy of the foregoing was served on all parties by
and through their attorney(s) of record via the Court's ElVi/ECF system on this 26th day of
August 2015.

/s/ Brian ii/i. Chandier
Brian iVi. Chandler

